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                         UNITED STATES DISTRICT COURT

                          DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                               )
                                                       )
               v.                                      )   NO. 19-CR-10479-PBS
                                                       )
ALAIN LENORD                                           )


                         MOTION FOR A RULE 11 HEARING


       Defendant, Alain Lenord, by his attorney, moves that the Magistrate Judge cancel

the Status Conference that is presently scheduled for April 25, 2091, report the matter to

the District Court as a case that will be resolved by way of plea, and return the file to the

District Court to schedule a Rule 11 Hearing at the District Courts convenience. As

reasons therefore, discovery as provided in the Local Rules is complete, no substantive

motions will be filed, and defendant has indicated his desire to plead guilty. The parties

have reached a plea agreement which will be provided.

       The time between arraignment and the presently scheduled status conference is

excludable from operation of the Speedy Trial Act in the interests of justice pursuant to

Local Rule 112.2. The filing of this Motion will toll the Speedy Trial Act until ruled

upon by the district court. 18 U.S.C. § 3161(h)(1)(D).
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                                                    Respectfully submitted,

                                                    ALAIN LENORD
                                                    By his Attorney
                                                    Respectfully submitted,

                                                    /s/ Jessica Thrall
                                                    Jessica Thrall,
                                                     B.B.O.: 670412
                                                    Assistant Federal Public Defender
                                                    Federal Defender Office
                                                    51 Sleeper Street, 5th Floor
                                                    Boston, MA 02210
                                                    Tel: 617-223-8061


                             CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on March 26, 2019.


                                                      /s/ Jessica Thrall
                                                      Jessica Thrall




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